EXHIBIT D
                           DEBTOR IN POSSESSION LOAN AGREEMENT

      THIS DEBTOR IN POSSESSION LOAN AGREEMENT (this “Agreement”), dated
November___, 2020, is entered into between Axia Realty, LLC, a New York limited liability
company (“Debtor”) and Michael Katz Profit Sharing Plan, a ____ (“Lender”), on the other
hand.

                                        WITNESSETH:

        WHEREAS, on October 26, 2020 (the “Petition Date”) the Debtor filed a voluntary
petition for relief under chapter 11 of Title 11 of the United States Code (the “Bankruptcy
Code”) with the United States Bankruptcy Court for the Southern District of New York (the
“Court”);

       WHEREAS, the Debtor has requested that Lender make a DIP Loan (as defined
hereinafter) to the Debtor subject to the terms and conditions set forth herein; and

       WHEREAS, Lender is willing, on the terms and conditions hereinafter set forth, to make
such a DIP Loan.

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged and intending to be legally bound hereby, the parties hereto
agree as follows:

SECTION 1. DEFINITIONS.

       1.1     Defined Terms. Certain terms are defined in the text of this Agreement or the
above recitals. In addition, as used in this Agreement, the following terms shall have the
following meanings:

         “Additional DIP Loan” has the meaning given to it in Section 2.1.

        “Affiliate” means any Entity directly or indirectly, through one or more intermediaries,
controlling, controlled by or under common control with Debtor.

      “Agreement” means this Debtor in Possession Loan Agreement, as it may hereafter be
amended, modified, extended, restated or supplemented from time to time.

       “Avoidance Actions” means causes of action of Debtor’s estate arising under Sections
544, 545, 547, 548 and 550 of the Bankruptcy Code.

      “Bankruptcy Code” means Title 11 of the United States Code, as may hereafter be
amended from time to time.

      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as may be
amended from time to time.

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         “Business Day” means any day on which banks are required to be open in New York
City.

       “Chapter 11 Case” means the voluntary chapter 11 bankruptcy case of the Debtor, titled
In re Axia Realty, LLC, Case No. 20-12511 (Bankr. S.D.N.Y. 2020).

         “Collateral” means the Real Property.

     “Common Charges” means the amounts payable to the Condominium for the
management, operation and maintenance of the Building in which the Real Property is located.

       “Condominium” means the residential condominium known as the “40 East 72nd Street
Condominium” that was created on or about April 18, 2017, by the filing of a declaration
pursuant to Article 9-B of the New York Real Property Law for the purpose of establishing a
plan for condominium ownership of the building located at 40 East 72nd Street, New York, New
York (the “Building”).

       “Default” means any event specified in Section 7 hereof, whether or not any requirement
in connection with such event for the giving of notice, lapse of time, or happening of any further
condition has been satisfied.

         “Default Rate” has the meaning given such term in Section 3.2(b) hereof.

      “DIP Loan” means, collectively, the Tranche A Loan, the Tranche B Loan and the
Additional DIP Loan, if any.

       “DIP Loan Commitment” means the commitment of the Lender to make the Tranche A
Loan, the Tranche B Loan and the Additional DIP Loan, if any.

       “DIP Loan Documents” means, collectively, this Agreement, any Interim DIP Order,
the Final DIP Order, the Mortgage, and each other order of the Court and each other instrument,
document or agreement required to be delivered pursuant to this Agreement or any order of the
Court or delivered in connection with this Agreement, including without limitation any
documents or instruments executed or delivered by any Entity from time to time as security for
the DIP Obligations, in each case as amended, modified, waived, substituted, replaced or
extended from time to time.

        “DIP Obligations” means all present and future obligations, indebtedness and liabilities,
and all renewals and extensions of all or any part thereof, of the Debtor to Lender arising from,
by virtue of, or pursuant to this Agreement, any DIP Loan Documents, and any and all renewals
and extensions thereof or any part thereof, or future amendments thereto, all interest accruing on
all or any part thereof and the reasonable attorneys’ fees incurred by Lender for the negotiation
and preparation of this Agreement and consummation of the same, execution of waivers,
amendments and consents, and in connection with the enforcement or the collection of all or any
part thereof, and reasonable attorneys’ fees incurred by Lender in connection with the

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enforcement or the collection of all or any part of the DIP Obligations during the continuance of
a Default, in each case whether such obligations, indebtedness and liabilities are direct, indirect,
fixed, contingent, joint, several or joint and several.

       “Entity” means an individual, partnership, limited liability company, joint venture,
corporation, trust, Governmental Unit, unincorporated organization, and government, or any
department, agency, or political subdivision thereof.

       “Final DIP Order” means the order entered by the Court upon sufficient notice as
required by Bankruptcy Rule 4001, in form and substance satisfactory to Lender, in its sole and
absolute discretion, approving the DIP Loan and the DIP Loan Documents on a final basis.

         “GAAP” means generally accepted accounting principles applied on a consistent basis.

        “Governmental Unit” means any state, commonwealth, federal, foreign, territorial, or
other court or government body, subdivision, agency, department, commission, board, bureau,
or instrumentality of a governmental body.

        “Highest Lawful Rate” means, at the particular time in question, the maximum rate of
interest which, under applicable law, Lender is then permitted to charge on the DIP Obligations.
If the maximum rate of interest which, under applicable law, Lender is permitted to charge on
the DIP Obligations shall change after the date hereof, the Highest Lawful Rate shall be
increased or decreased automatically, as the case may be, from time to time as of the effective
time of each change in the Highest Lawful Rate without notice to the Debtor.

        “Interim DIP Order” means any order entered by the Court with respect to the DIP
Loan or the DIP Loan Commitment prior to the Final DIP Order, in form and substance
satisfactory to Lender, in its sole and absolute discretion, approving the DIP Loan and the DIP
Loan Documents on an interim basis.

        “Law” means any constitution, statute, law, ordinance, regulation, rule, order, writ,
injunction, or decree of any Governmental Unit.

       “Lien” means any properly filed and perfected mortgage, pledge, security interest,
encumbrance, lien, or charge of any kind, including without limitation any agreement to give or
not to give any of the foregoing, any conditional sale or other title retention agreement, any
lease in the nature thereof, and the filing of or agreement to give any financing statement or
other similar form of public notice under the Laws of any jurisdiction (except for the filing of a
financing statement or notice in connection with an operating lease).

      “Material Adverse Change” means any circumstance or event that, by itself or
aggregated together with all other events or circumstances, is or would reasonably be expected
to materially and adversely affect the validity or enforceability of or any rights of Lender under
the DIP Loan Documents, the Interim DIP Order, or the Final DIP Order.




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       “Mortgage” means the Mortgage dated as of November __, 2020 granted by Debtor to
Lender on the Real Property and held by Lender to secure the DIP Obligations.

         “Permitted Liens” means:

      (a)    any Lien in favor of Lender pursuant to the DIP Loan Documents to secure the
DIP Obligations hereunder;

       (b)     Liens existing on the Petition Date, provided, however, that, pursuant to Section
364(d)(1), the Final DIP Order shall provide that all such liens shall be rendered junior and
second to the liens and security interests granted to Lender herein; provided, however, that on an
interim basis, the Lender is prepared to accept the lien priority established by the Interim DIP
Order entered in a form that is satisfactory to the Lender in its sole discretion;

       (c)    Liens on (i) real estate for real estate Taxes not yet delinquent and (ii) Liens for
Taxes, assessments, governmental charges, levies or claims that are being diligently contested in
good faith by appropriate proceedings and for which adequate reserves shall have been set aside
on the Debtor’s books, but only so long as no .foreclosure, restraint, sale or similar proceedings
have been commenced with respect thereto; and

        (d)    Liens of carriers, warehousemen, mechanics, laborers and materialmen and other
similar Liens incurred in the ordinary course of business for sums not yet due or being contested
in good faith, if such reserve or appropriate provision, if any, as shall be required by GAAP
shall have been made therefor.

        “Permitted Real Property Sale” means a transfer, directly or indirectly, of the Debtor’s
right, title or interest in, to or under any of the Real Property in which 100% of the net cash
proceeds of such sale will be used to pay the DIP Obligations in accordance with Section 2.7(b).

       “Real Property” means those certain real properties (individual condominium units
located at 40 East 72nd Street, Block 1386 Lot 1201, Block 1386 Lot 1202, Block 1386 Lot
1203, Block 1386 Lot 1207) owned by the Debtor and defined in the Mortgage as the
“Property”.

       “Superpriority Claims” means any debt or other claim arising out of credit obtained or
debt incurred by the Debtor having priority in accordance with the provisions of Section
364(c)(1) of the Bankruptcy Code over any or all administrative expenses of the kind specified
in Section 503(b) or 507(b) of the Bankruptcy Code.

       “Tax” or “Taxes” means all taxes, assessments, imposts, fees, or other charges at any
time imposed by any Laws or Governmental Unit.

         “Tax Code” means the Internal Revenue Code of 1986, as amended.

         “Tranche A Loan” has the meaning given such term in Section 2.1(a) hereof.



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         “Tranche B Loan” has the meaning given such term in Section 2.1(b) hereof.

       “UCC” means the Uniform Commercial Code as adopted in the State of New York as of
the date of this Agreement.

         “U.S. Trustee” means the United States Trustee for Region 2.

         1.2       Other Definitional Provisions.

       (a)   Unless otherwise specified therein, all terms defined in this Agreement shall have
the defined meanings when used in any other DIP Loan Document or any certificate or other
document made or delivered pursuant hereto.

       (b)    As used herein, in any other DIP Loan Document and in any certificate or other
document made or delivered pursuant hereto, accounting terms relating to a Debtor not defined
herein, and accounting terms partly defined herein to the extent not defined, shall have the
respective meanings given to them under GAAP.

       (c)    The words “hereof’, “herein” and “hereunder” and words of similar import when
used in this Agreement shall refer to this Agreement as a whole and not to any particular
provision of this Agreement, and Section, subsection, schedule and exhibit references are to
this Agreement unless otherwise specified.

       (d)    The meanings given to terms defined herein shall be equally applicable to the
singular and plural forms of such terms.

SECTION 2. DIP LOAN.

       2.1     DIP Loan Commitment. Subject to and in accordance with the terms and
conditions of this Agreement, Lender shall make advances to the Debtor, as follows:

      (a)    Upon entry of the Interim DIP Order, in an aggregate principal amount of up to
$1,500,000.00 (“Tranche A Loan”); and

      (b)    Upon entry of the Final DIP Order, in an aggregate principal amount of up to
$1,000,000.00 (“Tranche B Loan”).

At any time after entry of the Final DIP Order and prior to the expiration of the Term, provided
no Default has occurred, and subject to and in accordance with the other terms and conditions of
this Agreement, at Debtor’s option, Debtor may request additional DIP Loans in an aggregate
principal amount of up to $500,000.00 (the “Additional DIP Loan”). As long as the Debtor is
in compliance with the DIP Loan Documents, the Lender shall be obligated to make the
Additional DIP Loan.

After repayment, DIP Loans may not be re-borrowed.



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        2.2    Term. The Term of the DIP Loan Commitment shall be from the date of entry of
the Interim DIP Order through the earliest to occur of (i) the sale of any of the Real Property; (ii)
the closing of a sale of all or substantially all of the assets of the Debtor pursuant to Section 363
of the Bankruptcy Code; (iii) the second anniversary of the date of entry of the Interim DIP
Order; and (iv) the occurrence of a Default (the “Term”). Upon the expiration of the Term,
unless otherwise extended by Lender, in its sole discretion, all amounts due and owing under the
DIP Loan, including interest and fees, shall immediately become due and owing to Lender.

       2.3     Advances. Advances under the DIP Loan shall be made if and when provided
under the Interim DIP Order and the Final DIP Order, as applicable, subject to the terms and
conditions set forth therein and herein and subject to the conditions provided in Sections 3.4 and
3.5.

       2.4     Use of Proceeds. The proceeds of the DIP Loan shall be used by the Debtor solely
for the following:

    a.   Payment of unpaid prepetition Common Charges, late fees and legal fees;
    b.   Payment of unpaid real estate taxes on the Real Property;
    c.   Payment of postpetition Common Charges;
    d.   Payment of compensation and reimbursement of expenses to professionals employed by
         the Debtor under sections 327(a), 328 or 1103(a) of the Bankruptcy Code to the extent
         such fees and expenses are allowed and payable pursuant to an order of the Court;
    e.   Payment of fees required to be paid to the Clerk of the Court and to the U.S. Trustee
         pursuant to 28 U.S.C. §1930(a) and section 31 U.S.C. § 3717;
    f.   Payment of the costs and expense of any necessary construction and/or remediation of the
         Real Property or other work required to be performed at the Building by the Debtor in its
         capacity as sponsor;
    g.   Payment of the premiums for insurance on the Real Property; and,
    h.   Payment of monthly interest payments, fees, including legal fees, and other amounts due
         to the Lender as and when required pursuant to this Agreement.

      2.5     Collateral. As provided in the Final DIP Order, all indebtedness, including DIP
Obligations under this Agreement and the other DIP Loan Documents, shall be secured by
automatically perfected security interests and Liens granted pursuant to Section 364(d)(1) of the
Bankruptcy Code, with first priority on all Collateral.

      2.6     Monthly Interest Payments. The Debtor shall pay monthly interest payments to
the Lender in accordance with the terms of this DIP Loan, as computed in accordance with
Section 3.2 of this Agreement.

         2.7       Prepayments.

       (a)    Optional Prepayments. The unpaid principal amount of the Tranche A Loan, the
Tranche B Loan or the Additional DIP Loan, if any, together with any and all accrued interest
thereon through the date of prepayment, may be prepaid in full or in part at any time after six (6)
months from the date of the making of the applicable DIP Loan without premium or penalty.

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Prior to the expiration of six (6) months from the date of the making thereof, prepayment may
be made only with the payment of a premium of additional interest equal to the interest which
otherwise would have been paid hereunder but for such prepayment during the first six (6)
months. Any prepayment permitted hereunder shall be made after five (5) days’ written notice
to Lender and shall include the applicable prepayment premium.

        (b)     Mandatory Prepayments. If any net cash proceeds are received by or on behalf of
the Debtor with respect to the consummation of a Permitted Real Property Sale, the Debtor shall
cause to be prepaid an aggregate principal amount of the DIP Loans equal to 100% of all such
net cash proceeds as promptly as reasonably practicable, but in any event prior to the date which
is three (3) Business Days after receipt of such net cash proceeds by or on behalf of the Debtor.

       (c)     Application of Prepayments. All prepayments shall be accompanied by all
accrued interest thereon and shall be applied first to payments of interest, expenses, attorneys’
fees and penalties hereunder, and then to installments of principal in the inverse order of
maturity of the DIP Loans in inverse order of maturity. The term prepayment shall include, to
the extent permitted by law, payment following default and acceleration, condemnation or
casualty.

 SECTION 3. GENERAL PROVISIONS APPLICABLE TO DIP LOAN.
       3.1      No Note. This Agreement, any Interim DIP Orders, the Final DIP Order and the
other DIP Loan Documents fully evidence and memorialize the DIP Obligations, and no other
instrument is required to evidence such DIP Obligations.

         3.2       Interest Rates and Fees.

         (a)     Interest Rate. Subject to Section 3.2.(b) hereof, the DIP Loan shall bear interest
at a rate of 9.50 percent (9.50%) per annum, payable monthly in arrears (the “Interest Rate”).

       (b)     Default Rate. Upon the occurrence and during the continuance of a Default, and
provided that Lender shall have provided a Notice of Default as provided in Section 7.2 and any
applicable cure period has expired, the DIP Loan and all other amounts unpaid and outstanding
under this Agreement shall bear interest at a rate equal to 18.00 percent (18.00%) per annum or
the Highest Lawful Rate, whichever is less (the “Default Rate”).

       (c)     Computation of Interest. Interest on the Advances shall be computed on the basis
of a year of 365 days and the actual days elapsed (including the first day but excluding the last
day) occurring in the period for which such interest is payable, unless such calculation would
exceed the Highest Lawful Rate, in which case interest shall automatically be reduced to the
Highest Lawful Rate.

       (d)     Facility Fee. The Debtor shall pay Lender a facility fee equal to 2.00 percent
(2.00%) of the DIP Loan Commitment, which shall be fully earned on the date of entry of the
Interim DIP Order by the Court and payable on the date of funding of the Tranche B Loan from
the proceeds thereof.



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         3.3       Collateral.

       (a)    Grant of Security Interest. The Debtor hereby grants to Lender a first priority lien
and security interest in all of its Collateral, including without limitation pursuant to the
Mortgage, as security for the full and prompt payment in cash and performance of the DIP
Obligations.

       3.4    Conditions to Effectiveness. This Agreement shall be effective on the date on
which all of the following conditions have been first satisfied, except as otherwise agreed in
writing between Debtor and Lender:

         (a)    The Lender shall have received counterparts of the DIP Loan Documents
         properly executed by the Debtor in form and substance reasonably satisfactory to the
         Lender; and

         (b)    The Court shall have entered the Interim DIP Order approving the DIP Loan and
         the DIP Loan Documents on an interim basis not later than ten (10) days after the
         Debtor’s filing of a motion for approval thereof; and

         (c)     The Court shall have entered the Final DIP Order approving the DIP Loan and
         the DIP Loan Documents on a final basis not later than fourteen (14) days after entry of
         the Interim DIP Order, and no stay of the Final DIP Order has been granted by a court of
         competent jurisdiction and the Final DIP Order includes a section 364(e) finding in favor
         of the Lender.

       3.5    Conditions to Making of all DIP Loans. The obligation of Lender to make any
DIP Loan on any date is subject to satisfaction of the following conditions precedent, except as
otherwise agreed in writing between Debtor and Lender:

         (a)     The representations and warranties of Debtor contained herein and in the other
         DIP Loan Documents shall be true and correct in all material respects on and as of the
         date of the incurrence of such DIP Loan; and

         (b)    No Default hereunder or under any of the other DIP Loan Documents shall exist
         or would result from the incurrence of such DIP Loans; and

         (c)    The Debtor shall be in compliance with the Final DIP Order (or, with respect to
         Tranche A Loan, the Interim DIP Order), and such order shall be in full force and effect
         and shall not have been vacated, reversed, modified or rescinded.

SECTION 4. REPRESENTATIONS AND WARRANTIES OF DEBTOR.

The Debtor represents and warrants to the Lender that:

       4.1     Existence, Qualification and Power; Consents; Compliance with Laws. The
Debtor is (i) duly incorporated, organized or formed, and validly existing and in good standing,

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under the Laws of the jurisdiction of its organization; (ii) duly qualified and in good standing
under the Laws of each jurisdiction where its ownership, lease or operation of properties or the
conduct of its business requires such qualification; (iii) has all requisite power and authority,
licenses, authorizations, consents, permits and approvals to own or lease its assets and properties
and carry on its business and, subject to entry of the Interim DIP Order or the Final DIP Order, to
execute, deliver and perform its obligations hereunder and under the other DIP Loan Documents,
and no approvals, consents, exemptions, authorizations or other action by or filing with any
Governmental Unit is necessary or required in connection with the foregoing; and (iv) is in
compliance with all Laws, orders, writs, injunctions and orders.

        4.2    Authorization; No Contravention. Subject to entry of the Interim DIP Order or
the Final DIP Order, the execution, delivery and performance by the Debtor of each of the DIP
Loan Documents and the consummation of the transactions contemplated thereby (i) are within
the Debtor’s corporate or other powers; (ii) have been duly authorized by all necessary corporate
or other organizational action; and (iii) do not and will not contravene the terms of the Debtor’s
organizational documents, conflict with or result in any breach or contravention of or the
creation of any Lien (other than Permitted Liens) under any of the Debtor’s material agreements
or violate any material applicable Law.

       4.3     Ownership of Property; Liens. The Debtor is the legal and beneficial owner of and
has good and marketable title to the Collateral pledged by it free and clear of any Lien, except
for Permitted Liens.

        4.4     Taxes. Except as expressly set forth in the Debtor’s schedules filed with the Court
as of the date of this Agreement, the Debtor has timely filed all income and all other material tax
returns and reports required to be filed, and has timely paid all Taxes and other amounts of
federal, state, municipal, foreign and other taxes, assessments, fees and other governmental
charges levied or imposed upon it or its properties, income or assets otherwise due and payable,
and there are no claims being asserted in writing with respect to any such taxes.

       4.5     Insurance. The properties and assets of the Debtor, including the Real Property, is
insured in the manner provided in Section 5.2.

        4.6     Secured Obligations. The provisions of the DIP Loan Documents, taken together
with, and subject to the terms of, the Final DIP Order, are effective to create in favor of the
Lender legal, valid and enforceable senior secured liens and security interests in all right, title
and interest of the Debtor in the Collateral and all proceeds thereof as set forth in the Final DIP
Order, and pursuant to the Final DIP Order no filing or other action will be necessary to perfect
or protect such Liens and security interests.

        4.7     Final DIP Order. The Debtor is in compliance with the terms and conditions of
the Interim DIP Order or the Final DIP Order, as applicable, and such order is in full force and
effect and has not been vacated, reversed or rescinded or, without the prior written consent of
Lender, amended or modified, and no appeal of such order has been timely filed or, if timely
filed, no stay pending such appeal is currently effective.



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SECTION 5. AFFIRMATIVE COVENANTS.

        The Debtor hereby agrees that, so long as any portion of the DIP Loan or other DIP
Obligation remains outstanding and unpaid or any other amount is owing to Lender hereunder,
the Debtor shall:
        5.1    Payment of Post-Petition Obligations; Maintenance of Property. The Debtor shall
pay, discharge or otherwise satisfy all post-Petition Date obligations and liabilities, including
without limitation taxes, assessments and governmental charges or levies imposed upon or with
respect to the Debtor or the Collateral or any part thereof, unless such assessments and charges
are subject to a good faith contest adequately reserved for by the Debtor, and preserve and
protect the Collateral in good order, repair and condition.

         5.2       Insurance.

       (a)      Maintain with financially sound and reputable insurance companies insurance on
all Collateral in at least such amounts and with only such deductibles as are usually maintained,
and against at least such risks as are usually insured against in the same general area, by
companies engaged in the same or a similar business and owning or leasing similar properties;
and furnish to Lender, at its request, full information as to the insurance carried.

        (b)   Lender shall be named as an additional insured and as its interests may appear on
all insurance maintained by the Debtor pursuant to Section 5.2(a) hereof.

       5.3     Books and Records. Keep proper books of record and account in which complete
and correct entries are made of all dealings and transactions in relation to the Debtor’s business
and activities and matters involving the assets of the Debtor and which permit financial
statements to be prepared in substantial conformity with GAAP and all applicable Laws.

        5.4      Cash Accounts. Deposit and maintain all proceeds of the DIP Loan in only such
debtor-in-possession accounts as permitted under the Bankruptcy Code and in accordance with
the Court’s orders relating to the Debtor’s use of bank accounts and cash management systems
after the Petition Date.

         5.5     Visits and Inspections. Promptly permit representatives of Lender, upon prior
written notice to the Debtor, from time to time during normal business hours to (a) visit and
inspect any property of the Debtor, including the Real Property, as often as Lender shall
reasonably deem advisable, (b) make such inspections of, abstracts from and copies of the
Debtor’s books and records as Lender shall deem advisable, and (c) discuss with the Debtor’s
members, officers and the auditors of the Debtor, the Debtor’s business, operations, assets,
liabilities, financial positions, results of operations and business prospects as often as Lender
shall deem advisable.

        5.6    Compliance with Law. Comply in all material respects with all requirements of
law applicable to the Debtor and the Collateral (including but not limited to requirements relating
to the environment or hazardous or toxic substances) and the Bankruptcy Code.



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       5.7    Compliance with Final DIP Order. Comply with the terms and conditions of the
Interim DIP Order or the Final DIP Order, as applicable.

        5.8     Further Assurances. Execute and deliver to Lender such reasonable documents
and agreements and take or cause to be taken such reasonable actions as Lender may from time
to time reasonably request to carry out the terms and conditions of this Agreement and the other
DIP Loan Documents and to perfect, maintain and protect Lender’s security interest in the
Collateral, including delivering to Lender all Collateral in which Lender’s security interest may
be perfected by possession together with such endorsements as Lender may request.

 SECTION 6. NEGATIVE COVENANTS.

         The Debtor hereby agrees that it shall not, directly or indirectly so long as the DIP Loan
or any of the DIP Obligations remain outstanding and unpaid, or any other amount is owing to
Lender hereunder or under any of the other DIP Loan Documents (it being understood that each
of the permitted exceptions to each of the covenants in this Section 6 is in addition to, and not
overlapping with, any other of such permitted exceptions except to the extent expressly
provided), without the express written consent of Lender:
        6.1    Debt. Create, incur, assume or suffer to exist any debt, except:

         (a)       Debt in existence on the date of this Agreement;

         (b)       Debt incurred under this Agreement and the other DIP Loan Documents; and

       (c)    Debt incurred by the Debtor in the ordinary course of business in the form of
accounts payable and accrued expenses.

        6.2    Limitation on Liens. Create, incur, assume or suffer to exist any Lien upon the
Real Property or any of its other property, assets, income or profits, whether now owned or
hereafter acquired, except Permitted Liens.

        6.3    Alteration of Rights of Lender. Limit, affect or modify, or apply to the Court or
support any application to the Court to limit, affect or modify, any of Lender’s rights with
respect to the DIP Obligations, including with respect to the Collateral and the validity and
priority of Lender’s Liens.

        6.4     DIP Financing. Incur, or apply to the Court for authority to incur, or suffer to
exist, any (i) indebtedness having the priority afforded by Section 364(c) or (d) of the
Bankruptcy Code (including any Superpriority Claims) other than the financing provided for
under this Agreement and the other DIP Loan Documents; or (ii) obligation to make adequate
protection payments, or otherwise provide adequate protection, other than as contemplated by the
Interim DIP Order or the Final DIP Order, or as may be required by order of the Court in
connection with the provision of adequate protection to holders of Permitted Liens whose
collateral is sold or otherwise disposed of or as to which Lender consents, provided, however,
that on an interim basis, the Lender is prepared to accept the lien priority established by the
Interim DIP Order entered in a form that is satisfactory to the Lender in its sole discretion.

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        6.5    Chapter 11 Claims. Except as permitted under the Final DIP Order, apply to the
Court for the authority to incur, create, assume, suffer or permit any claim, Lien or encumbrance
(other than Permitted Liens) against the Debtor, or any of its assets in the Chapter 11 Case to be
pari passu with, or senior to, the Liens and claims of Lender granted and arising under the DIP
Loan Documents.

       6.6     Superpriority Administrative Expense. Create or permit to exist any Superpriority
Claims (other than with respect to this Agreement or the Interim or Final DIP Orders).

       6.7    Alterations. Undertake any material alterations or modifications to the Real
Property without Lender’s prior written consent.

       6.8     Transfers. Transfer, directly or indirectly, any of its right, title or interest in, to or
under any of the Collateral without the Lender’s prior written consent.

        6.9     Transactions with Affiliates. Enter into any transaction of any kind with any
Affiliate except in the ordinary course of business in accordance with all applicable Law and on
terms which are fully disclosed to Lender in advance and are no less favorable to Debtor or such
Affiliate than would be obtained in a comparable arm’s-length transaction with an unrelated third
party.

        6.10 Restricted Payments. Declare or pay any dividend on, or make any payment or
distribution directly or indirectly of cash, assets, properties, rights, obligations or securities on
account of any ownership interest in Debtor or any Affiliate, or make any payment, or purchase,
redeem, retire, or otherwise acquire for value any ownership interest in Debtor or any Affiliate,
or any warrants, rights or options to acquire any such ownership interest, now or hereafter
outstanding.

SECTION 7. DEFAULT.
       7.1    Default. In addition to the Events of Default under the Interim DIP Order and
Final DIP Order, the following shall constitute a Default:

        (a)    The Debtor fails to pay when and as required to be paid herein any amount of
principal of any DIP Loan or (ii) within three (3) Business Days after the same becomes due in
cash, any interest on any DIP Loan or any other amount payable hereunder or with respect to
any of the other DIP Loan Documents; or

       (b)     The Debtor fails to perform or observe any term, covenant or agreement
contained herein required to be performed or observed by it; or

       (c)     Any representation, warranty or statement of fact made or deemed made by
Debtor herein or in the other DIP Loan Documents shall be incorrect or misleading in any
material respect when made or deemed made; or




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       (d)     The Court enters an order with respect to the Debtor dismissing the Chapter 11
Case or converting it to a case under chapter 7 of the Bankruptcy Code, or, without the prior
written consent of Lender (i) appointing a trustee in the Chapter 11 Case; (ii) appointing a
responsible officer or an examiner with enlarged powers relating to the operation of the
Debtor’s business (beyond those set forth in Section 1106(a)(3) or (4)) under Bankruptcy Code
Section 1106(b); or (iii) reversing or modifying any of the Interim or Final DIP Orders without
the consent of Lender; or

       (e)    The Debtor (i) fails to comply with any material terms of the Interim DIP Order
or the Final DIP Order or (ii) seeks, or supports any action seeking, to challenge the Liens or
claims of the Lender granted pursuant to the Interim or Final DIP Orders and the other DIP
Loan Documents; or

       (f)   There occurs any Material Adverse Change, including without limitation, any
impairment to the value of the Collateral which Lender, in good faith, deems will threaten
timely payment in full of the DIP Loan; or

        (g)     The Court grants any superpriority administrative expense claim or Lien or enters
any order granting relief from the automatic stay (if not in favor of Lender) with respect to any
of the Collateral, except with the express written consent of Lender; or

         (h)    The Debtor proposes, enters into or seeks Court approval of (i) an agreement to
sell all or substantially all of its assets under Section 363 of the Bankruptcy Code that does not
provide for the repayment in full of the DIP Loans and the other DIP Obligations upon the
closing of such sale; or (ii) a chapter 11 plan that does not provide for the repayment in full of
the DIP Loans and the other DIP Obligations upon terms acceptable to the Lender.

        7.2     Notice of Default and Certain Remedies. If any Default shall occur, Lender may
provide written notice (a “Notice of Default”) to the Debtor and the U.S. Trustee of such
Default. If a Default shall have occurred and Lender shall have provided a Notice of Default,
then, upon expiration of any applicable cure period, so long as any such Default shall be
continuing, any of the actions set forth in the next sentence may be taken upon written notice by
Lender to the Debtor and the U.S. Trustee. Lender may (A) without further order of the Court,
declare the DIP Loan Commitment reduced to zero whereupon the DIP Loan Commitment and
all obligations of Lender relating thereto shall be immediately terminated, (B) without further
order of the Court, declare all or a portion of the DIP Loan (with accrued interest thereon) and all
other amounts owing under this Agreement to be due and payable forthwith, whereupon the
same shall immediately become due and payable, without further notice, demand, presentment,
notice of dishonor, notice of acceleration, notice of intent to accelerate, protest, or other
formalities of any kind, all of which are hereby expressly waived by the Debtor, (C) foreclose or
otherwise enforce any Lien, including without limitation the Mortgage, granted to Lender for the
benefit of itself to secure payment and performance of the DIP Obligations in accordance with
the terms of the DIP Loan Documents, and (D) exercise all other rights and remedies available at
law or in equity. Except as expressly provided above in this Section 7, presentment, notice,
notice of dishonor, notice of acceleration, notice of intent to accelerate, demand, protest and all



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other notices of any kind are hereby expressly waived. Lender shall have no obligation to
preserve rights to the Collateral or marshal any Collateral for the benefit of any person.

SECTION 8. MISCELLANEOUS.
        8.1 Amendments and Waivers. No DIP Loan Document nor any terms thereof maybe
 amended, supplemented or modified except in writing signed by Lender and Debtor.

         8.2 Notices. All notices, requests and demands to or upon the respective parties hereto
to be effective shall be in writing, and, unless otherwise expressly provided herein, shall be
deemed to have been duly given or made when delivered by hand, or three Business Days after
being deposited in the mail, postage prepaid, or one Business Day after being entrusted to a
reputable commercial overnight delivery service, or, in the case of electronic mail notice, when
sent, addressed as follows in the case of the Debtor and Lender or to such other address as may
be hereafter notified by such respective parties hereto:

         The Debtor:
               Axia Realty, LLC
               1790 Broadway, Suite 1700
               New York, New York 10019

         With a copy to:
                Tarter Krinsky & Drogin LLP
                1350 Broadway, 11th Floor
                New York, NY 10018
                Attn: Scott S. Markowitz, Esq.
                smarkowitz@tarterkrinsky.com

         Lender:
                    Michael Katz Profit Sharing Plan
                    107 Cherry Street
                    Katonah, New York 10536
                    michaelkatz@verizon.net

         8.3 No Waiver; Cumulative Remedies. No failure to exercise and no delay in
exercising, on the part of Lender, any right, remedy, power or privilege hereunder shall operate
as a waiver thereof; nor shall any single or partial exercise of any right, remedy, power or
privilege hereunder preclude any other or further exercise thereof or the exercise of any other
right, remedy, power or privilege. The rights, remedies, powers and privileges herein provided
are cumulative and not exclusive of any rights, remedies, powers and privileges provided by
Law.

        8.4 Survival of Representations and Warranties. All representations and warranties
made hereunder and in any document, certificate or statement delivered pursuant to or in
connection herewith shall survive the execution and delivery of this Agreement and the making
of the DIP Loan.



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         8.5 Counterparts. This Agreement and each other DIP Loan Document may be
executed in one or more counterparts, each of which shall be deemed an original, but all of
which together shall constitute one and the same instrument. Delivery by facsimile or other
electronic transmission of an executed counterpart of a signature page to this Agreement and
each other DIP Loan Document shall be effective as delivery of an original executed counterpart
thereof; provided that original signatures shall be promptly delivered thereafter, it being
understood that the failure to request or deliver the same shall not limit the effectiveness of any
document or signature delivered by facsimile or other electronic transmission.

        8.6 Additional Grant of Lien. All DIP Obligations, contingent or absolute (including,
without limitation, the principal thereof, interest thereon, and any costs and expenses owing in
connection therewith) which may now or from time to time hereafter be owing by the Debtor to
Lender under any of the DIP Loan Documents shall be secured as set forth in the Final DIP
Order.
        8.7 Governing Law. This Agreement and each other DIP Loan Document shall be
governed by and construed in accordance with the law of the State of New York and, to the
extent applicable, the Bankruptcy Code.




                                     [SIGNATURE PAGE FOLLOWS]




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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed and delivered by their proper and duly authorized officers as of the day and year first
above written.


DEBTOR

AXIA REALTY, LLC


By: _____________________________
Name: Antonia Milonas
Title: Managing Member

LENDER

MICHAEL KATZ PROFIT SHARING PLAN

By: _____________________________
Name: Michael Katz
Title: Trustee




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